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                                                                                                    E-FILED
                                                                Wednesday, 29 January, 2020 08:34:30 AM
                                                                            Clerk, U.S. District Court, ILCD
                               UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF ILLINOIS
                                       URBANA DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                      vs.                        )          Case No. 18-20025
                                                 )
WILLIAM A. GOODWILL                              )

REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

       The United States of America and the Defendant having both filed a written consent,

appeared before me pursuant to Rule 11, FED. R. CRIM. P. and CDIL Rule 72.1(A)(24). The

Defendant entered a plea of guilty to Count 1s of the Superseding Indictment. This plea is

conditional with defendant reserving the right to appeal the Court’s denial of his motion to

suppress evidence.

       After cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary as to the

charge, and that the offense charged is supported by an independent factual basis containing each

of the essential elements of said offense. I therefore recommend that the plea of guilty be

accepted, that a pre-sentence investigation and report be prepared, and that the Defendant be

adjudged guilty and have sentence imposed accordingly.

       Failure to file written objections to this Report and Recommendation within 14 days from

the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


       ENTERED this 29th day of January, 2019


                                                              s/ Eric I. Long
                                                               ERIC I. LONG
                                                            U.S. MAGISTRATE JUDGE
